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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      Western District
                                                  __________  District of
                                                                       of __________
                                                                          Texas


   Community Financial Services Assocation, et al.                )
                             Plaintiff                            )
                                v.                                )      Case No.    1:18-cv-295-LY
      Consumer Financial Protection Bureau, et al.                )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Public Citizen, Inc., Americans for Financial Reform Education Fund, Center for Responsible Lending, and           .
          National Consumer Law Center

Date:          06/02/2018                                                                  /s/ Aaron Johnson
                                                                                           Attorney’s signature


                                                                                Aaron Johnson, TX Bar No. 24056961
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